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Local Form 3015-1 (12/17)
                                                                 UNITED STATES BANKRUPTCY COURT
                                                                      DISTRICT OF MINNESOTA

 In re:
 Sherry Suzette Evans                                                                                Case no.: 17-43107
 David Douglas Evans                                                                                 CHAPTER 13 PLAN      Modified
                                                                                                     Dated: December 11, 2017

 Debtor.
 In a joint case, debtor means debtors in this plan.



Part 1. NOTICE OF NON-STANDARD PLAN PROVISIONS, SECURED CLAIM LIMITATIONS, AND LIEN OR SECURITY
INTEREST AVOIDANCE: Debtors must check the appropriate boxes below to state whether or not the plan includes each of the following
items:

  1.1     A limit on the amount of a secured claim based on a valuation of the                Included                       Not included
          collateral for the claim, set out in Parts 9 or 17

  1.2     Avoidance of a security interest or lien, set out in Part 17                        Included                       Not included

  1.3     Nonstandard provisions, set out in Part 17                                          Included                       Not included

Part 2. DEBTOR'S PAYMENTS TO TRUSTEE

       2.1 As of the date of this plan, the debtor has paid the trustee $ .
       2.2 After the date of this plan, the debtor will pay the trustee $ 660.00 * per Month for 60 months beginning in                     (mo.)
           of          (yr.) for a total of $ 41,370.00 .The initial plan payment is due not later than 30 days after the order for relief.
       2.3 The minimum plan length is          36 months or     60 months from the date of the initial plan payment unless all allowed claims are paid in
           a shorter time.
       2.4 The debtor will also pay the trustee 0.00 .
       2.5 The debtor will pay the trustee a total of $ 41,370.00 [lines 2.1 + 2.2 + 2.4]
Part 3. PAYMENTS BY TRUSTEE — The trustee will make payments only to creditors for which proofs of claim have been filed. The trustee
    may collect a fee of up to 10% of plan payments, or $ 4,137.00 [line 2.5 x .10]
Part 4. ADEQUATE PROTECTION PAYMENTS (§ 1326(a)(1(C)) — The trustee will promptly pay from available funds adequate protection
    payments to creditors holding allowed claims secured by personal property, according to the following schedule, beginning in month one (1).
                      Creditor                      Monthly Payment                Number of Months                      Total Payments
       -NONE-
       TOTAL                                                                                                                               $0.00

Part 5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [§ 365] — The debtor assumes the following executory contracts or
    unexpired leases. Debtor will pay directly to creditors all payments that come due after the date the petition was filed. Cure provisions, if any,
    are set forth in Part 8.

                                  Creditor                                                                Description of Property
 5.1      Toyota Financial Services                                                   3 Year Auto Lease for 2017 Lexus CT200H

Part 6. CLAIMS NOT IN DEFAULT — Payments on the following claims are current and the debtor will pay directly to creditors all payments
    that come due after the date the petition was filed. The creditors will retain liens, if any.

                                Creditor                                                                   Description of Property
 6.1      Hennepin County Treasurer                                                   Property Taxes

Part 7. HOME MORTGAGES IN DEFAULT (§§ 1322(b)(5) and 1322(e)) — The trustee will cure payment defaults on the following claims
    secured only by a security interest in real property that is the debtor's principal residence. The debtor will pay directly to creditors all payments
    that come due after the date the petition was filed. The creditors will retain liens. All following entries are estimates. The trustee will pay the
    actual amounts of default.

                                                                     Amount of          Monthly          Beginning in       Number of
                            Creditor                                  default           payment            month #          payments         Total payments
          Bank of America
 7.1                                                                     $10,378.01          $173.00                    1            60            $10,378.01
          TOTAL                                                                                                                                    $10,378.01


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Part 8. CLAIMS IN DEFAULT (§§ 1322 (b)(3) and (5) and 1322(e)): The trustee will cure payment defaults on the following claims as set forth
    below. The debtor will pay directly to creditors all payments that come due after the date the petition was filed. The creditors will retain liens, if
    any. All following entries are estimates, except for interest rate.

                                                   Amount of           Interest rate        Monthly         Beginning in      Number of
                     Creditor                       default              (if any)           payment           month #         payments            Total payments
          -NONE-
          TOTAL                                                                                                                                              $0.00

Part 9. SECURED CLAIMS SUBJECT TO MODIFICATION (“CRAMDOWN”) PURSUANT TO § 506 (§ 1325(a)(5)) (secured claim
amounts in plan this Part control over any contrary amount except for secured claims of governmental units): The trustee will pay, on account
of the following allowed secured claims, the amount set forth in the “Total Payments” column below. Unless otherwise specified in Part 17, the
creditors will retain liens securing the allowed secured claims until the earlier of the payment of the underlying debt determined under nonbankruptcy
law, or the date of the debtor’s discharge, and if this case is dismissed or converted without completion of the plan, such liens shall also be retained
by such holders to the extent recognized by applicable nonbankruptcy law. Notwithstanding a creditor’s proof of claim filed before or after
confirmation, the amount listed in this Part as a creditor’s secured claim binds the creditor pursuant to 11 U.S.C. § 1327 and confirmation of
the plan is a determination of the creditor’s allowed secured claim. For secured claims of governmental units, unless otherwise ordered by the
court, the value of a secured claim listed in a proof of claim filed in accordance with FRBP 3012(c) controls over any contrary amount.

                                                                                                             X
                                                                              Begin-                       Numbe                          +
                                                                              ning in                       r of                      Adq. Pro.
                                   Claim               Secured       Interest month         (Monthly       payme       =              from Part            =
             Creditor             amount                Claim          Rate      #          payment)        nts) Plan payments            4         Total payments
          -NONE-                                                                        $
          TOTAL                                                                                                                                              $0.00

Part 10. SECURED CLAIMS EXCLUDED FROM § 506 AND NOT SUBJECT TO MODIFICATION (“CRAMDOWN”) (§ 1325) (910
vehicles and other things of value)(allowed filed secured claim controls over any contrary amount): The trustee will pay in full the amount of
the following allowed secured claims. All following entries are estimates, except for interest rate. The creditors will retain liens. Unmodified 910
claims not in default are addressed in Part 6. Unmodified 910 claims in default are addressed in Part 8.

                                                                                                                                          +
                                                                                                                                        Adq.
                                                                                                              X               =          Pro.
                                                       Claim         Interest Beginning      (Monthly      Number of         Plan       from          =
                       Creditor                       amount          Rate in month #        payment)      payments)       payments     Part 4 Total payments
 10.1     Wells Fargo Dealer Svc                      $12,940.00      5.25         1           $246.00        60       $14,740.71        $0.00    $14,740.71
          TOTAL                                                                                                                                   $14,740.71

Part 11. PRIORITY CLAIMS (not including claims under Part 12): The trustee will pay in full all claims entitled to priority under § 507(a)(2)
    through (a)(10), including the following. The amounts listed are estimates. The trustee will pay the amounts actually allowed.

                                                                         Estimated              Monthly         Beginning in Number of
          Creditor                                                           Claim              payment             Month # payments                Total payments
11.1      Attorney Fees                                                 $3,500.00               $195.00                    1       18                   $3,500.00
11.2      Internal Revenue Service                                      $7,514.51               Pro rata           Pro rata Pro rata                    $7,514.51
11.3      MN Dept of Revenue                                                 $0.00                                                                          $0.00
          TOTAL                                                                                                                                        $11,014.51

Part 12. DOMESTIC SUPPORT OBLIGATION CLAIMS: The trustee will pay in full all domestic support obligation claims entitled to priority
under § 507(a)(1), including the following. The amounts listed are estimates. The trustee will pay the amounts actually allowed.

                                                                         Estimated                     Monthly Beginning in Number of
          Creditor                                                           Claim                     payment  Month #     payments                Total payments
          -NONE-
          TOTAL                                                                                                                                               $0.00




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Part 13. SEPARATE CLASSES OF UNSECURED CLAIMS — In addition to the class of unsecured claims specified in Part 14, there shall be
    separate classes of non-priority unsecured creditors described as follows: -NONE-
    The trustee will pay the allowed claims of the following creditors. All entries below are estimates.

                                                             Interest
                                                               Rate                         Monthly     Beginning in   Number of               TOTAL
          Creditor                                           (if any)   Claim Amount        Payment       Month #      Payments             PAYMENTS
          -NONE-
          TOTAL                                                                                                                                    $0.00


Part 14. TIMELY FILED UNSECURED CLAIMS — The trustee will pay holders of nonpriority unsecured claims for which proofs of claim
were timely filed the balance of all payments received by the trustee and not paid under Parts 3, 7, 8, 9, 10, 11, 12 and 13 their pro rata share of
approximately $ 1,099.77 [line 2.5 minus totals in Parts 3, 7, 8, 9, 10, 11, 12 and 13].
14.1        The debtor estimates that the total unsecured claims held by creditors listed in Part 9 are $ 0.00 .
14.2        The debtor estimates that the debtor's total unsecured claims (excluding those in Part 9 and 13) are $ 72,675.14 .
14.3        Total estimated unsecured claims are $ 72,675.14 [lines 14.1 + 14.2].

Part 15. TARDILY-FILED UNSECURED CREDITORS — All money paid by the debtor to the trustee under Part 2, but not distributed by the
trustee under Parts 3, 4, 7, 8, 9, 10, 11, 12, 13 and 14, will be paid to holders of allowed nonpriority unsecured claims for which proofs of claim were
tardily filed.

Part 16. SURRENDER OF COLLATERAL AND REQUEST FOR TERMINATION OF STAY: The debtor has surrendered or will surrender
the following property to the creditor. The debtor requests that the stays under §§ 362(a) and 1301(a) be terminated as to the surrendered collateral
upon confirmation of the plan.


                                             Creditor                                                   Description of Property
          -NONE-


Part 17. NONSTANDARD PROVISIONS: The Trustee may distribute additional sums not expressly provided for herein at the trustee’s discretion.
Any nonstandard provisions, as defined in FRBP 3015(c), must be in this Part. Any nonstandard provision placed elsewhere in the plan is void. Any
request by the debtor to modify a claim secured only by a security interest in real property that is the debtor’s principal residence must be listed in
this Part and the debtor must bring a motion to determine the value of the secured claim pursuant to Local Rule 3012-1(a).
 17.1 *The plan is a step plan which will pay as follows: $660.00 Monthly for 1 month, then $690.00 Monthly for 59 months

 17.2     Wells Fargo Dealer Services: Creditor(s) will release liens upon payment of the secured portion of the creditor's claim
          and debtor's discharge.

          Claims filed as secured but for which the plan makes no express provision shall be paid as unsecured claims as set
          forth in Paragraph 13 above.

          A proof of claim may be filed by the Internal Revenue Service (IRS) for a claim against the debtor(s) for taxes that
          become payable to the IRS post-petition, limited to only the tax year for which the bankruptcy case was filed. The
          trustee shall pay such claim as submitted as funds are available pursuant to 11 U.S.C. Statute 1305.

          The debtor shall send the Trustee each year during the Chapter 13 Plan, copies of his/her federal and state income tax
          returns at the time they are filed. If the debtor receives a refund from the federal taxing agency but owes the state
          taxing agency (or vice-versa), the debtor will net the two out and pay the trustee the amount over $1,200 for a single
          filer, or $2,000 for a joint filer (not including any Earned Income Credit or Working Family Credit). Any additional
          amounts shall be turned over to the Chapter 13 trustee as additional plan payments.

          Late filed claims are subject to objection per 11 U.S.C. §502(b)(9).
 17.3




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                                                    Class of Payment                                         Amount to be paid

 Payments by trustee's [Part 3]                                                                     $                      4,137.00
 Home Mortgage Defaults [Part 7]                                                                    $                     10,378.01
 Claims in Default [Part 8]                                                                         $                          0.00
 Secured claims subject to modification (cramdown) pursuant to § 506 [Part 9]                       $                          0.00
 Secured claims excluded from § 506 [Part 10]                                                       $                          0.00
 Priority Claims [Part 11]                                                                          $                     11,014.51
 Domestic support obligation claims [Part 12]                                                       $                          0.00
 Separate classes of unsecured claims [Part 13]                                                     $                          0.00

 Timely filed unsecured claims [Part 14]                                                            $                      1,099.77
 TOTAL (must equal line 2.5)                                                                        $                     41,370.00


 Certification regarding nonstandard provisions:
 I certify that this plan contains no nonstandard provision except as          Signed: /s/ Sherry Suzette Evans
 placed in Part 17.                                                                    Sherry Suzette Evans
                                                                                       Debtor 1
 Signed:       /s/ Kelsey Quarberg
               Kelsey Quarberg 398291                                          Signed: /s/ David Douglas Evans
               Attorney for debtor or debtor if pro se                                 David Douglas Evans
                                                                                       Debtor 2 (if joint case)




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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


In re:                                                           Bkty. Case No: 17-43107

Sherry Suzette Evans
David Douglas Evans,

                Debtors.



                           NOTICE OF CONFIRMATION HEARING


         PLEASE TAKE NOTICE that the Confirmation Hearing on the Chapter 13 Plan is

scheduled December 21, 2017 at 10:30 a.m., at the U.S. Bankruptcy Court, U.S. Courthouse,

Courtroom 8 West, 8th Floor, 300 South 4th Street, Minneapolis, Minnesota 55415.



         Dated this 11th day of December, 2017



                                                  KAIN & SCOTT, P.A.



                                                  /e/ KELSEY B. QUARBERG-#398291
                                                  Attorney for Debtors
                                                  6445 Sycamore Court North
                                                  Maple Grove, MN 55369
                                                  (612) 843-0529
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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


In re:

                                                                    Bky: 17-43107
Sherry Suzette Evans                                                Chapter 13
David Douglas Evans,

               Debtor.


                         UNSWORN CERTIFICATE OF SERVICE



        I, Sonja K. Quaintance, declare under penalty of perjury that on December 11, 2017 she
caused to be served the Notice of Confirmation Hearing and Modified Chapter 13 Plan via the
CM/ECF system to those parties requesting electronic notification and upon all parties in interest
at the addresses set forth in the exhibit which is attached hereto, by first class mail.



Dated: December 11, 2017                                    /e/ Sonja K. Quaintance
                                                            Sonja K. Quaintance
                                                            Kain & Scott, P.A.
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24 RESTORE                        AMEX                               AMEX DSNB
6615 141ST AVE NW                 PO BOX 297871                      9111 DUKE BLVD
RAMSEY MN 55303                   FORT LAUDERDALE FL 33329           MASON OH 45040



                                                                     CLEAR SPRING LOAN SERVICE
BANKAMERICA                       CAPITAL ONE
                                                                     7668 W ARREN PARKW AY
4909 SAVARESE CIRCLE              15000 CAPITAL ONE DR
                                                                     SUITE 325
TAMPA FL 33634                    RICHMOND VA 23238
                                                                     FRISCO TX 75034



COMENITY BANK/ANNTYLR             COMENITY BANK/PTTRYBRN             COMENITYBANK/W AYFAIR
PO BOX 182273                     PO BOX 182789                      PO BOX 182789
COLUMBUS OH 43218                 COLUMBUS OH 43218                  COLUMBUS OH 43218




CREDIT ONE BANK NA                DFS/LLC                            DSNB MACYS
PO BOX 98875                      1 DELL W AY                        PO BOX 8218
LAS VEGAS NV 89193                ROUND ROCK TX 78682                MASON OH 45040



HENNEPIN COUNTY TREASURER         INTERNAL REVENUE SERVICE
                                                                     KOHLS/CAPONE
A-600 GOVERNMENT CENTER           CENTRALIZED INSOLVENCY
                                                                     N56 W 17000 RIDGEW OOD DR
300 S 6TH STREET                  PO BOX 7346
                                                                     MENOMONEE FALLS W I 53051
MINNEAPOLIS MN 55487-0060         PHILADELPHIA PA 19101-7346



MN DEPT OF REVENUE
                                  MOHELA/SOFI                        ONEMAIN
ATTN:DENISE JONES
                                  633 SPIRIT DR                      PO BOX 1010
PO BOX 64447
                                  CHESTERFIELD MO 63005              EVANSVILLE IN 47706
SAINT PAUL MN 55164



SHAPIRO & ZIELKE
                                  SYNCB/CARE CREDIT                  SYNCB/LUMBER LIQUIDATO
12550 W EST FRONTAGE RD
                                  C/O PO BOX 965036                  C/O PO BOX 965036
SUITE 200
                                  ORLANDO FL 32896                   ORLANDO FL 32896
BURNSVILLE MN 55337



SYNCB/OLDNAVYDC                   THD/CBNA                           TOYOTA FINANCIAL SERVI
PO BOX 965005                     PO BOX 6497                        PO BOX 5726
ORLANDO FL 32896                  SIOUX FALLS SD 57117               HOPKINS MN 55343




TOYOTA FINANCIAL SERVICES         W ELLS FARGO DEALER SVC
401 CARLSON PARKW AY SUITE 125    PO BOX 1697
HOPKINS MN 55305                  W INTERVILLE NC 28590
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